Case 1:17-cv-02123-REB-KMT Document 67 Filed 05/22/18 USDC Colorado Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 17-cv-002123-REB-KMT


  OYZHANA WILLIAMS,

         Plaintiff,

  v.

  MICHAEL HAWKINS, Aurora Police Sergeant, in his individual capacity;
  JORDAN ODNEAL, Aurora Police Officer, in his individual capacity;
  JOSE ORTIZ, Aurora Police Officer, in his individual capacity; and
  THE CITY OF AURORA, COLORADO,

       Defendants.
  ______________________________________________________________________

    STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL CLAIMS AGAINST
      DEFENDANTS MICHAEL HAWKINS, JORDAN ODNEAL AND JOSE ORTIZ
  ______________________________________________________________________

         The Parties, Plaintiff, OyZhana Williams, by and through counsel, Adam Frank,

  Esq. and Faisal Salahuddin, Esq., of Frank & Salahuddin, LLC, Defendants Michael

  Hawkins and Jordan Odneal, by and through counsel, Michael T. Lowe, Esq. and Carrie

  Lynn Slinkard, Esq., of Bruno, Colin & Lowe, P.C., Defendant Jose Ortiz, by and through

  counsel, Jonathan M. Abramson, Esq. and Jordan C. Lubeck, Esq., of Kissinger &

  Fellman, P.C., and Defendant City of Aurora, Colorado, by and through counsel, Nancy

  C. Rodgers, Esq., of the Aurora City Attorney’s Office, hereby stipulate and agree to the

  dismissal with prejudice of all claims against Defendants Michael Hawkins, Jordan

  Odneal and Jose Ortiz, in the above-captioned matter, pursuant to Fed. R. Civ. P.

  41(a)(1)(A)(ii), with each party to pay their own attorneys’ fees and costs.
Case 1:17-cv-02123-REB-KMT Document 67 Filed 05/22/18 USDC Colorado Page 2 of 3




         Dated this 22nd day of May, 2018.

   /s/ Adam Frank                                   /s/ Michael T. Lowe
   Adam Frank                                       Michael T. Lowe
   Faisal Salahuddin                                Carrie Lynn Slinkard
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   Attorneys for Plaintiff                          Attorneys for Defendants Hawkins and
                                                    Odneal

   /s/ Jonathan M. Abramson                         /s/ Nancy C. Rodgers
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   Attorney for Defendant Ortiz

                                 CERTIFICATE OF SERVICE

          I hereby certify that on the 22nd day of May 2018, I electronically filed the foregoing
  with the Clerk of Court using the CM/ECF system which will send notification of such filing
  to the following e-mail addresses:

  Adam Frank, Esq. [adam@fas-law.com]
  Faisal Salahuddin, Esq. [fas@fas-law.com]
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  ATTORNEY FOR DEFENDANT CITY OF AURORA, COLORADO


                                                2
Case 1:17-cv-02123-REB-KMT Document 67 Filed 05/22/18 USDC Colorado Page 3 of 3




  and I hereby certify that I have mailed or served the document or paper to the following
  non-CM/ECF participants in the manner (mail, hand delivery, etc.) indicated by the non-
  participant’s name: N/A

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